UNITED sTATEs DISTRICT COURT R E C E l V E D
MLDDLE DISTRICT oF TENNEssEE |N CLERKS OFF|CE

JUL 0 7 2016
U.S. DIS_TR|C"T" COURT

CRAIG CUNNiNGHAM, Pro-se ) MID. DIST. TENN.

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Plaz`ntj`f )

) crviL ACTIoN No.: 3 § /d¢ -/é 75
v. )
Alpha Recovery Corporation )

Defendanfs.

Plaintiff’s Original complaint

l. The Plaintiff in this case is Craig Cunningham, a natural person and Was resident
of Davidson County at all times relevant to the complaint, and currently has a
mailing address of 5 543 Edmondson Pike, ste 248, Nashville, TN 37211

2. Alpha Recovery Corporation is a debt collector as defined by the TCPA and is
operating and can be served at 5660 Greenwood Plaza Blvd`, ste lOl, Greenwood
Village, CO 801]1.

Jurisdiction
3. Jurisdiction of this court arises as the acts happened in this county.
4. Venue in this District is proper in that the defendants transact business here, and

the acts and transactions occurred here.

FACTUAL ALLEGATIONS

5 . In 2015, the Plaintiff received a debt collection phone call to the Plaintifi” s cell

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phone which connected the Plaintiff to an agent The Plaintiff recieved a call at
615-933-6196 on at least 3 different occasions The Plaintiff inquired as far as
getting added to the company’s internal do not call list, but was told that the
company does not maintain a do not call list. l\/Iultiple agents l spoke with stated
that they had no account information that populated when they searched the
Plaintiff’ s cell phone number.

6. In a subsequent call, the Plaintiff was told by an agent of Alpha Recovery that he
was being called by an automated telephone dialing system ln this subsequent
call, the Plaintiff noticed a delay between answering the phone and the call
connecting with a live person, which is characteristic of automated telephone
dialing systems

7 . One of the calls was simply dead air as the Plaintiff repeatedly said
“hello. . .hello” and nobody answered until the line disconnected

8. This is just one of many harassing debt collection calls the Plaintiff has received,
and the Plaintiff has not been able to ascertain where this erroneous information is
coming from, and as Alpha Recovery is just content to knowingly call what could
be wrong numbers, the Plaintiff is therefore subjected to multiple harassing phone
calls.

9. The Plaintiff alleges that Defendant Alpha Recovery is a debt collector as defined
by the FDCPA.

lO. The Plaintiff is a third party, and the communication violated 15 USC
lé92(c)(a)(b), which generally prohibits communication with 3rd parties, and the

call was not being made for the purpose of acquiring location information as

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defined by 15 USC l692(b). The Debt collector was taking a flyer just dialing
possible numbers, knowing full well that they were quite likely to reach an
innocent 3rd party. This is harassing behavior likely to annoy a reasonable person
in violation of 15 USC 1692(d).

Upon information and belief, the Defendant also used an automated telephone
dialing system to call the Plaintiff’s cell phone in violation of the TCPA, 47 USC
227(b) and 47 USC 227(c)(5).

The calls violated 47 USC 227(b) as the calls were automated and placed to the
Plaintiff’ s cell phone without the Plaintiff” s consent and Without an emergency
purpose

These calls Were knowingly and willfully placed as calls came even after the
Plaintiff requested to be placed on the internal do not call list and the Defendants

had or should have ascertained they were calling the wrong person

CAUSES OF ACTION:
COUNT I
Violations of the 'I`elephone Consumer Protection Act (TCPA)
Plaintiff Cunningham incorporates by reference all of the above paragraphs of

this complaint as though fully stated herein.

The foregoing actions by the Defendants constitute multiple breaches of the
TCPA by placing automated calls without the Plaintiff’ s consent to the Plaintiff’ s

Cell phone.

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PRAYER FOR DAMAGES AND RELIEFS
A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests that

judgment be entered against Defendants

.UF

Statutory damages of $1500 for each phone call
Pre-j udgment interest from the date of the phone calls,

Punitive damages for all claims in the amount of $25,000

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Attorney’s fees for bringing this action as incurred; and

F. Costs of bringing this action; and

G. For such other and further relief as the Court may deem just and proper
l, Craig Cunningham, Affiant, hereby attest to and certify that the facts contained in the
foregoing complaint are true and correct to the best of my knowledge, information and
belief and that a true and correct copy of the foregoing was sent to the defendants in this

case.

esp tfull submitted, v_,;':.V

 

Plaintiff, Pro-se

Mailing address:

5543 Edmondson Pike, ste 248
Nashville, Tn 37211

615-348-1977
June 27th 2016

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